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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                      Case No. 3:20-cv-01866-IM (L)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others             ORDER TO WITHDRAW FUNDS
similarly situated                                   AND DISBURSE
                                                     (Interest-Bearing Account)
              Plaintiff,

       vs.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director of
the Oregon Department of Administrative
Services; OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREON; DOES 1-10,

              Defendants.




       Funds were previously deposited with the Court pursuant to the Court’s Orders of

November 20, 2020 (Dkt. No. 26) and December 18, 2020 (Dkt. No. 60), in the total amount of

$9,014,120. These funds were deposited into the interest-bearing Court Registry Investment

System (“CRIS”) administered by the Administrative Office of the United States Courts pursuant




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to 28 U.S.C. § 2045.

       Defendants have filed an unopposed motion to disburse $5,300,000 of the funds

previously deposited with the Clerk of Court in connection with this action. That motion is

GRANTED. The $5,300,000 of funds shall be withdrawn and disbursed as follows:

             1. CRIS Fee Assessment: Pursuant to Standing Order No. 2016-11, a CRIS fee for

                the management of investments in the CRIS has been previously deducted from the

                interest earned on the funds deposited with the Court.

             2. Payments: Funds net of the CRIS fee assessment shall be disbursed as follows:

                    a. Payee shall be The Contingent DBA Portland Leadership Foundation.

                    b. The amount to be withdrawn and disbursed from the principal balance is

                       $5,300,000.

                    c. The funds shall be electronically transferred to payee’s bank account as

                       listed on the completed AO 213P Request for Payee Information and TIN

                       Certification submitted to the Court’s financial department.

       The Clerk of Court, through the Financial Administrator, has pre-approved the form of

this Order pursuant to LR 67-3(b).

       The Clerk of Court is absolved of any liability by compliance with this Order.

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       It shall be counsel’s responsibility to confirm that any action required of the Clerk of

Court or her designee by this Order has been performed.

       IT IS SO ORDERED.

       DATED: ____________________



                                                     Hon. Karin J. Immergut
                                                     Presiding Judge

                               For Court Use Only
______________________________________________________________________________

APPROVED AS TO FORM:
Mary L. Moran, Clerk of Court




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By: Financial Administrator




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